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                                                                 FILED

            IN THE UNITED STATES DISTRICT COURT FOR
                                                                          my.
                THE SOUTHERN DISTRICT OF GEORGIA
                                                          2009 MAY 13 AP11013
                        WAYCROSS DIVISION

UNITED STATES OF AMERICA                                 L El -.
                                                              SQ. DIJ. OF GA,
V.
                                         CASE NO. CR597-003
RONNIE LEE WILLIAMS, a/k/a
Too Death,

     Defendant.


                             ORDER

     Before the Court are Defendant Ronnie Lee William's

Motion for Extension of Time to File Notice of Appeal (Doc.

1970) and Motion for Leave to Appeal In Forma Pauperis

(Doc. 1969) . After careful consideration, Defendant's

Motion for Extension of Time is GRANTED and Defendant's

Motion for Leave to Appeal In Forma Pauperis is DENIED.

     In his Motion for Extension of Time, Defendant states

that he did not receive a copy of this Court's Order

denying his Motion for Reconsideration until April 22,

2009. In light of these circumstances, Defendant's Motion

is GRANTED. Therefore, Defendant's May 4, 2009 Notice of

Appeal of this Court's Order denying his Motion for

Reconsideration is timely.'



' While Defendant's Notice of Appeal is timely with respect
to this Court's denial of his Motion for Reconsideration
(Doc. 1946), the Notice of Appeal is untimely with respect
to the denial of his original Motion for Retroactive
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     Pursuant to 2      U.S.C. § 1915(a) (1), this Court may

allow Defendant to proceed on appeal without prepayment of

fees if he submits an affidavit that includes a statement

of all his assets and shows that he is unable to pay such

fees or give security therefor. However, "[a]n appeal may

not be taken in forma pauperis if the trial court certifies

in writing that it is not taken in good faith." 28 U.S.C.

§ 1915(a) (3); see Fed. R. App. P. 24(a) (3) (A).

     The Court denied Defendant's Motion for Retroactive

Application of Sentencing Guidelines because under the 2007

Amendments Defendant's guideline range remained life

imprisonment. (Doc. 1876.) Therefore, the 2007 Amendments

to the Sentencing Guidelines do not provide for any

reduction in Defendant's sentence.          Based on the clear

inapplicability of the 2007 Amendments to Defendant's


Application of Sentencing Guidelines. (Doc. 1849.) This
Court previously granted Defendant the maximum 30-day
extension to file a Notice of Appeal from the earlier
Order, which moved the deadline to September 3, 2008.
(Doc. 1946.)   However, on the last available day to file
under the extension, Defendant filed a Motion for
Reconsideration rather than a Notice of Appeal. While
filing a Motion for Reconsideration "tolls the time for
filing a notice of appeal," United States v. Vicaria, 963
F.2d 1412, 1413 (11th Cir. 1992) (citing United States v.
Dieter, 429 U.S. 6, 8-9 (1976)), Defendant filed that
Motion at the last possible moment, meaning there was
basically no time left to toll. Defendant had, at most,
one day to file his Notice of Appeal following this Court's
denial of his Motion for Reconsideration. As a result, the
time for Defendant to appeal the denial of his Motion for
Retroactive Application has expired and cannot be extended.

                                OA
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sentence, the Court finds Defendant's appeal to be

frivolous and not taken in good faith. Accordingly, the

Court DENIES Defendant's Motion for Leave to Appeal In

Forma Pauperis.
                          21
     SO ORDERED this / 2 —day of May, 2009.




                            WILLIAM T. MOORE, A., CHIEF JUDGE
                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF GEORGIA




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